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                              IN THE UNITED STATES DISTRICT
                                COURT FOR THE DISTRICT OF
                                      CONNECTICUT


 DEBORAH CARR, BRENDA MOORE,
 AND MARY ELLEN WILSON,

                Plaintiffs,
                                                 Case No. 3:22-cv-00988 (MPS)
 v.

 XAVIER BECERRA, SECRETARY,
 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES,

                Defendant.




                                           NOTICE

       As stated during the Court’s August 8, 2022, telephonic conference, Defendant hereby

represents that the Centers for Medicare & Medicaid Services (“CMS”) will not take any action to

enforce 42 C.F.R. § 433.400(c)(2)(i)(B) against Connecticut with respect to Plaintiffs Deborah

Carr and Brenda Moore until at least 15 days after the Court resolves the motion for preliminary

injunction. CMS informed Connecticut about this via email at 4:17 p.m. CMS plans to follow up

with a phone call to confirm receipt.



DATED: August 8, 2022                              Respectfully submitted,

                                                   BRIAN M. BOYNTON
                                                   Principal Deputy Assistant Attorney General

                                                   MICHELLE R. BENNETT
                                                   Assistant Branch Director
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                                  /s/ Madeline M. McMahon l
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 8, 2022, a copy of the foregoing Notice was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court's electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.

                                                       /s/ Madeline M. McMahon l
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